Case 6:15-cr-00252-DEW-PJH      Document 341      Filed 08/18/16   Page 1 of 2 PageID #:
                                       1321



                      UNITED STATES DISTRICT COURT

                     WESTERN DISTRICT OF LOUISIANA

                             LAFAYETTE DIVISION

 UNITED STATES OF AMERICA                      ACTION NO. 6:15-cr-252-10

 VERSUS                                        JUDGE MINALDI

 TRAVIS JOSEPH THIBODEAUX (10)                 MAGISTRATE JUDGE HANNA


                  REPORT AND RECOMMENDATION
                      ON FELONY GUILTY PLEA
            BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to Title 28, United States Code, Section 636(b), and with the written

 and oral consent of the defendant, this matter has been referred by the District Court

 for administration of Guilty Plea and Allocution under Rule 11 of the Federal Rules

 of Criminal Procedure.

       This cause came before the undersigned United States Magistrate Judge for a

 change-of-plea hearing and allocution of the defendant, Travis Joseph Thibodeaux,

 on August 10, 2016. The defendant was present with his counsel Chase Jeremiah

 Edwards.

       After the hearing and for the reasons orally assigned, the undersigned finds that

 the defendant is fully competent, that his guilty plea is knowing and voluntary, and

 that his guilty plea to Count One of the Indictment is fully supported by a written
Case 6:15-cr-00252-DEW-PJH      Document 341      Filed 08/18/16    Page 2 of 2 PageID #:
                                       1322



 factual basis for each of the essential elements of the offense.

       Therefore, the undersigned United States Magistrate Judge recommends that

 the District Court ACCEPT the guilty plea of the defendant, Travis Joseph

 Thibodeaux, in accordance with the terms of the plea agreement filed in the record

 of these proceedings, and that Travis Joseph Thibodeaux be finally adjudged guilty

 of the offense charged in Count One of the Indictment.

       The defendant waived the fourteen day period within which to file written

 objections to this Report and Recommendation. Accordingly, the District Court may

 immediately adopt this Report and Recommendation, thereby accepting the

 defendant's guilty plea.

       THUS DONE AND SIGNED in chambers in Lafayette, Louisiana, on this the

 18th day of August, 2016.


                                         ____________________________________
                                         PATRICK J. HANNA
                                         UNITED STATES MAGISTRATE JUDGE




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